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The following constitutes the ruling of the court and has the force and effect therein described.



Signed November 21, 2022
                                           United States Bankruptcy Judge
______________________________________________________________________

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


       IN RE:                                             §           Case No. 22-31641 (MVL)
                                                          §
       GOODMAN NETWORKS, INC.,                            §
                                                          §
                      DEBTOR.                             §           Chapter 7
                                                          §
                                                          §           (Involuntary Proceeding)

                                    AGREED PROTECTIVE ORDER

             The following parties (the “Parties” and each individually a “Party”) agree to entry of this

      Agreed Protective Order (the “Protective Order”) in the above-styled bankruptcy proceeding (the

      “Bankruptcy Case”): (a) JLP Credit Opportunity Master Fund Ltd., JLP Credit Opportunity IDF

      Series Interests of the SALI Multi-Series Fund, L.P., JLP Institutional Credit Master Fund LP, and

      Alimco Re Ltd. (the “Original Petitioning Creditors”); (b) FedEx Supply Chain Logistics &

      Electronics, Inc. (“FSCLE”), by joinder, (together with the Original Petitioning Creditors, the

      “Petitioning Creditors”); (c) James Goodman, a non-party (“Goodman”); and (d) ) any other

      persons or entities who become bound by this Protective Order by signifying their assent through

      execution of Exhibit A hereto.




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Proceedings and Information Governed.

       1.      This Protective Order is made under Fed. R. Civ. P. 26(c). It governs any document,

information, or other thing furnished by any Party to any other Party. Documents and information

produced by third parties in connection with this Bankruptcy Case may also be designated

Confidential Information or Confidential Attorney Eyes Only Information (as defined below) by

any Party. The information protected includes, but is not limited to: answers to interrogatories;

answers to requests for admission; responses to requests for production of documents; deposition

transcripts and videotapes; deposition exhibits; and other writings or things produced, given or

filed in this action that are designated by a Party as “Confidential Information” or “Confidential

Attorney Eyes Only Information” in accordance with the terms of this Protective Order, as well as

to any copies, excerpts, abstracts, analyses, summaries, descriptions, or other forms of recorded

information containing, reflecting, or disclosing such information.

Designation and Maintenance of Information.

       2.      For purposes of this Protective Order, (a) the “Confidential Information”

designation means that the document contains trade secrets or commercial information that is not

publicly known and is of technical or commercial advantage to its possessor, or other information

required by law or agreement to be kept confidential and (b) the “Confidential Attorney Eyes

Only” designation means that the document contains information that the producing Party deems

especially sensitive, which may include, but is not limited to, confidential research and

development, financial, technical, marketing, any other sensitive trade secret information, or

information capable of being utilized for the preparation or prosecution of a patent application

dealing with such subject matter. Confidential Information and Confidential Attorney Eyes Only

Information does not include, and this Protective Order does not apply to, information that is




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already in the knowledge or possession of the Party to whom disclosure is made unless that Party

is already bound by agreement not to disclose such information, or information that has been

disclosed to the public or third persons in a manner making such information no longer

confidential.

       3.       Documents and things produced by the Parties in connection with this Bankruptcy

Case within the scope of paragraph 2(a) above may be designated by the producing Party as

containing Confidential Information by placing on each page and each thing a legend substantially

as follows:

                             CONFIDENTIAL INFORMATION
                            SUBJECT TO PROTECTIVE ORDER

       4.       Documents and things produced within the scope of paragraph 2(b) above may be

designated by the producing Party as containing Confidential Attorney Eyes Only Information by

placing on each page and each thing a legend substantially as follows:

                CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION
                        SUBJECT TO PROTECTIVE ORDER

       5.       A Party may designate information disclosed at a deposition as Confidential

Information or Confidential Attorney Eyes Only Information by requesting the reporter to so

designate such portion of the transcript at the time of the deposition. A Party shall not designate

the entire transcript as Confidential Information or Confidential Attorney Eyes Only Information

absent a good faith argument that the entire transcript must be so designated. If no such designation

is made at the time of the deposition, any Party will have three (3) calendar days after the date of

the deposition to designate, in writing to the other parties and to the court reporter, whether any

portion of the transcript is to be designated as Confidential Information or Confidential Attorneys

Eyes Only Information. If no such designation is made at the deposition or within this three (3)




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calendar day period (during which period, the transcript shall be treated as Confidential

Information), the entire deposition will be considered devoid of Confidential Information or

Confidential Attorneys Eyes Only Information. Each Party and the court reporter must attach a

copy of any final and timely written designation notice to the transcript and each copy of the

transcript in its possession, custody or control, and the portions designated in such notice must

thereafter be treated in accordance with this Protective Order. It is the responsibility of counsel for

each Party to maintain materials containing Confidential Information or Confidential Attorney

Eyes Only Information in a secure manner and appropriately identified so as to allow access to

such information only to such persons and under such terms as is permitted under this Protective

Order.

Challenge to Designations.

         6.    A receiving Party may challenge a producing Party’s designation at any time. Any

receiving Party disagreeing with a designation may request in writing that the producing Party

change the designation. The producing Party will then have one (1) calendar day after receipt of a

challenge notice to advise the receiving Party whether or not it will change the designation. If the

Parties are unable to reach agreement after the expiration of this one (1) day time-frame, the

receiving Party may at any time thereafter seek an order to alter the confidential status of the

designated information. Until any dispute under this paragraph is ruled upon by the presiding

judge, the designation will remain in full force and effect, and the information will continue to be

accorded the confidential treatment required by this Protective Order.

Disclosure and Use of Confidential Information.

         7.    Information designated as Confidential Information or Confidential Attorney Eyes

Only Information may only be used for purposes of preparation, trial, and appeal of this




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Bankruptcy Case. Confidential Information or Confidential Attorney Eyes Only Information may

not be used under any circumstances for prosecuting any patent application, for patent licensing,

or for any other purpose.

       8.      Subject to paragraphs 8 and 9 below, Confidential Information may be disclosed

by the receiving Party only to the following individuals, provided that such individuals are

informed of the terms of this Protective Order: (a) employees of the receiving Party who are

required in good faith to provide assistance in the conduct of this litigation, including any

settlement discussions, and who are identified as such in writing to counsel for the designating

Party in advance of the disclosure; (b) in-house counsel who are identified by the receiving Party;

(c) outside counsel for the receiving Party; (d) supporting personnel employed by (b) and (c), such

as paralegals, legal secretaries, data entry clerks, legal clerks, and private photocopying services;

(e) experts or consultants; and (f) any persons requested by counsel to furnish services such as

document coding, image scanning, mock trial, jury profiling, translation services, court reporting

services, demonstrative exhibit preparation, or the creation of any computer database from

documents.

       9.      Subject to paragraphs 8 and 9 below, Confidential Attorney Eyes Only Information

may be disclosed by the receiving Party only to the following individuals, provided that such

individuals are informed of the terms of this Protective Order: (a) outside counsel for the receiving

Party; (b) supporting personnel employed by outside counsel, such as paralegals, legal secretaries,

data entry clerks, legal clerks, private photocopying services; and (c) experts or consultants.

       10.     Further, prior to disclosing Confidential Information or Confidential Attorney Eyes

Only Information to a receiving Party’s proposed expert, consultant, or employees, the receiving

Party must provide to the producing Party a signed Confidentiality Agreement in the form attached




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as Exhibit B, the resume or curriculum vitae of the proposed expert or consultant, the expert or

consultant's business affiliation, and any current and past consulting relationships in the industry.

The producing Party will thereafter have two (2) calendar days from receipt of the Confidentiality

Agreement to object to any proposed individual. The objection must be made for good cause and

in writing, stating with particularity the reasons for the objection. Failure to object within two (2)

calendar days constitutes approval. If the Parties are unable to resolve any objection, the receiving

Party may apply to the presiding judge to resolve the matter. There will be no disclosure to any

proposed individual during the two (2) calendar day objection period, unless that period is waived

by the producing Party, or if any objection is made, until the Parties have resolved the objection,

or the presiding judge has ruled upon any resultant motion.

       11.     Counsel is responsible for the adherence by third-party vendors to the terms and

conditions of this Protective Order. Counsel may fulfill this obligation by obtaining a signed

Confidentiality Agreement in the form attached as Exhibit C.

Non-Party Information.

       12.     The existence of this Protective Order must be disclosed to any person producing

documents, tangible things, or testimony in this action who may reasonably be expected to desire

confidential treatment for such documents, tangible things or testimony. Any such person may

designate documents, tangible things, or testimony confidential pursuant to this Protective Order.

Filing Documents with the Court.

       13.     The Parties agree to submit (including as exhibits in connection with any trial or

hearing in the Bankruptcy Case or if filed on the Court's docket) Confidential Information or

Confidential Attorneys Eyes Only Information to the Court under seal. Any order permitting any

Confidential Information or Confidential Attorneys Eyes Only Information to be filed under seal




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shall provide that the Confidential Information or Confidential Attorneys Eyes Only Information

will not be deemed unsealed for 60 days after the final disposition of this Bankruptcy Case, but

shall be returned to counsel for the producing Party.

       14.     Producing or receiving Confidential Information, or otherwise complying with the

terms of this Protective Order, will not (a) operate as an admission by any Party that any particular

Confidential Information or Confidential Attorney Eyes Only Information contains or reflects

trade secrets or any other type of confidential or proprietary information; (b) prejudice the rights

of a Party to object to the production of information or material that the Party does not consider to

be within the scope of discovery; (c) prejudice the rights of a Party to seek a determination by the

presiding judge that particular materials be produced; (d) prejudice the rights of a Party to apply

to the presiding judge for further protective orders; or (e) prevent the Parties from agreeing in

writing to alter or waive the provisions or protections provided for in this Protective Order with

respect to any particular information or material

Conclusion of Litigation.

       15.     Within sixty (60) calendar days after the closing or dismissal of this Bankruptcy

Case, including the exhaustion of all appeals, each Party or other person subject to the terms of

this Protective Order is under an obligation to destroy or return to the producing Party all materials

and documents containing Confidential Information or Confidential Attorney Eyes Only

Information, and to certify to the producing Party that this destruction or return has been done.

However, outside counsel for any Party is entitled to retain all court papers, trial transcripts,

exhibits, and attorney work provided that any such materials are maintained and protected in

accordance with the terms of this Protective Order.




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Other Proceedings.

       16.     By entering this Protective Order and limiting the disclosure of information in this

case, the presiding judge does not intend to preclude another court from finding that information

may be relevant and subject to disclosure in another case.

Legally Required Disclosure.

       17.      If any Party is requested or required (by oral questions, interrogatories, requests

for information or documents in legal proceedings, subpoena, civil investigative demand or other

similar process, or by applicable law or the rules or regulations of any regulatory authority having

jurisdiction over such Party) to disclose in connection with a matter that is not this Bankruptcy

Case any of the Confidential Information or Confidential Attorney Eyes Only Information, such

Party shall provide the Party that produced or designated such information with prompt written

notice of any such request or requirement so that the producing or designating Party may seek a

protective order or other remedy, and/or waive compliance with the provisions of this Protective

Order. In the absence of a protective order or other remedy at the time of the deadline for the

production of the Confidential Information or Confidential Attorney Eyes Only Information

(including any extensions of such deadline), the Party may, without liability hereunder, disclose

that portion of the Confidential Information or Confidential Attorney Eyes Only Information

which is legally required to be disclosed.

       18.     Nothing herein shall prevent the U.S. Trustee from disclosing materials for civil or

criminal law enforcement purposes in compliance with a subpoena or court order, or pursuant to

any request under the Freedom of Information Act or other applicable law requiring disclosure,

subject to the U.S. Trustee providing prompt notice to the producing Party as described in

Paragraph 15 above.




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Waiver.

       19.     The failure to designate any item or information as Confidential Information or

Confidential Information or Confidential Attorney Eyes Only Information shall not constitute a

waiver of such claim. If at any time any of the Parties believes that certain testimony or some portion

of any item or information that was previously produced should have been designated as

Confidential Information or Confidential Attorney Eyes Only Information, that Party shall

promptly notify all of the other Parties who have received such testimony, item or information in

writing, and such designated testimony or portion of item or information will thereafter be treated

as Confidential Information or Confidential Attorney Eyes Only Information under the terms of

this Order. If such item or information has been disclosed by a Party between the time of

production or receipt of the transcript containing the testimony and the time at which a Party gives

notice that the Materials are to be designated as Confidential Information or Confidential Attorney

Eyes Only Information, such disclosure shall not constitute a violation of this Protective Order.

Clawback of Inadvertently Produced Protected Materials.

       20.     If items or information protected from disclosure under Federal Rule of Civil

Procedure 26(b)(5) (“Protected Materials”) are inadvertently or mistakenly produced, such

production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to, any

claim of privilege or work-product doctrine for such information or any other information that may

be protected from disclosure by the attorney-client privilege, the work-product doctrine, or any

other legally cognizable privilege or other protection. If the producing Party inadvertently or

mistakenly produces Protected Materials, upon written request by the producing Party after the

discovery of such inadvertent or mistaken production, the receiving Party shall use all

commercially reasonable efforts to return or destroy the Protected Materials and all copies of it,




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including any work product containing, identifying, or referencing such information, and the

receiving Party shall not use such information for any purpose other than in connection with a

motion to compel production of the information. The Parties shall not use any inadvertently

produced Protected Materials, or information gleaned exclusively from any inadvertently

produced Protected Materials, in connection with the Bankruptcy Case, except to the extent that

the inadvertently producing Party withdraws its designation of the relevant material as Protected

Materials or that the Court determines that the relevant material was not properly designated as

Protected Materials.

Remedies.

       21.     It is Ordered that this Protective Order will be enforced by the sanctions set forth

in Fed. R. Civ. P. 37(b), as made applicable by Federal Rule of Bankruptcy Procedure 7037, and

any other sanctions as may be available to the presiding judge, including the power to hold Parties

or other violators of this Protective Order in contempt. All other remedies available to any person

injured by a violation of this Protective Order are fully reserved.

       22.     Any Party may petition the presiding judge for good cause shown if the Party

desires relief from a term or condition of this Protective Order.

       23.     Nothing in this Protective Order shall be construed as preventing any Party from

seeking further protection for or disclosure of any information.

       24.     Nothing in this Protective Order shall be construed to affect in any way the

admissibility or relevance of any information or other evidence.

       25.     This Protective Order shall have no effect on, and shall not apply to, a producing

Party's use or disclosure of its own information for any purposes whatsoever.




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       26.    This Court retains exclusive jurisdiction for matters arising from or related to this

Protective Order.

                                  ### END OF ORDER ###




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AGREED TO BY:

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Alimco Re Ltd.




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BUTLER SNOW LLP

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                                           Exhibit A

                      JOINDER TO AGREED PROTECTIVE ORDER

       In connection with the pending bankruptcy case In re Goodman Networks, Inc, Case No.

22-31641 (MVL) in the United States Bankruptcy Court for the Northern District of Texas, on

behalf of ___________________________ (the “Joining Party”), I acknowledge that I have read

and understand the terms of the Agreed Protective Order (the “ Protective Order”). The Joining

Party agrees to become a Party (as defined in the Protective Order) under the Protective Order and

to comply with and be bound by all the provisions of the Protective Order as a Party. By

acknowledging these obligations under the Protective Order, the Joining Party submits to the

jurisdiction of the United States Bankruptcy Court for the Northern District of Texas for the

purpose of any issue or dispute arising under the Protective Order.           The Joining Party

acknowledges that the willful violation of any term of the Protective Order could subject the

Joining Party to sanctions or punishment for contempt of Court.



__________________________________
Joining Party

By: ___________________________________________

Executed on: ___________________




JOINDER TO AGREED PROTECTIVE ORDER
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                                             Exhibit B

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 IN RE:                                               §           Case No. 22-31641 (MVL)
                                                      §
 GOODMAN NETWORKS, INC.,                              §
                                                      §
                 DEBTOR.                              §           Chapter 7
                                                      §
                                                      §           (Involuntary Proceeding)

                      CONFIDENTIALITY AGREEMENT FOR EXPERT,
                      CONSULTANT OR EMPLOYEES OF ANY PARTY


I hereby affirm that:

         Information, including documents and things, designated as “Confidential Information,” or

“Confidential Attorney Eyes Only Information,” as defined in the Protective Order entered in

Agreed Protective Order (“Protective Order”) entered in Bankruptcy Case No. 22-31641 pending

in the United States Bankruptcy Court for the Northern District of Texas, is being provided to me

pursuant to the terms and restrictions of the Protective Order.

         I have been given a copy of and have read the Protective Order.

         I am familiar with the terms of the Protective Order and I agree to comply with and to be

bound by its terms.

         I submit to the jurisdiction of the above-referenced Court for enforcement of the Protective

Order.

         I agree not to use any Confidential Information or Confidential Attorney Eyes Only

Information disclosed to me pursuant to the Protective Order except for purposes of preparation,

trial, and appeal of any orders or judgments entered in this Bankruptcy Case and not to disclose


CONFIDENTIALITY AGREEMENT FOR EXPERT CONSULTANT OR EMPLOYEES OF ANY PARTY
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any of this information to persons other than those specifically authorized by the Protective Order,

without the express written consent of the Party who designated the information as confidential or

by order of the presiding judge. I also agree to notify any stenographic, clerical or technical

personnel who are required to assist me of the terms of this Protective Order and of its binding

effect on them and me.

       I understand that I am to retain all documents or materials designated as or containing

Confidential Information or Confidential Attorney Eyes Only Information in a secure manner, and

that all such documents and materials are to remain in my personal custody until the completion

of my assigned duties in this matter, whereupon all such documents and materials, including all

copies thereof, and any writings prepared by me containing any Confidential Information or

Confidential Attorney Eyes Only Information are to be returned to counsel who provided me with

such documents and materials.



_____________________________________
Signed
_____________________________________
Name
_____________________________________
Date




CONFIDENTIALITY AGREEMENT FOR EXPERT CONSULTANT OR EMPLOYEES OF ANY PARTY
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                                            Exhibit C

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 IN RE:                                              §           Case No. 22-31641 (MVL)
                                                     §
 GOODMAN NETWORKS, INC.,                             §
                                                     §
                   DEBTOR.                           §           Chapter 7
                                                     §
                                                     §           (Involuntary Proceeding)

          CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS

       I hereby affirm that: Information, including documents and things, designated as

“Confidential Information,” or “Confidential Attorney Eyes Only Information,” as defined in the

Agreed Protective Order (“Protective Order”) entered in Bankruptcy Case No. 22-31641 pending

in the United States Bankruptcy Court for the Northern District of Texas, is being provided to me

pursuant to the terms and restrictions of the Protective Order. I have been given a copy of and have

read the Protective Order. I am familiar with the terms of the Protective Order and I agree to

comply with and to be bound by its terms. I submit to the jurisdiction of the above-referenced

Court for enforcement of the Protective Order. I agree not to use any Confidential Information or

Confidential Attorney Eyes Only Information disclosed to me pursuant to the Protective Order

except for purposes of the above-captioned case and not to disclose any of this information to

persons other than those specifically authorized by the Protective Order, without the express

written consent of the Party who designated the information as confidential or by order of the

presiding judge.




CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS
                                                                                            PAGE 1
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_____________________________________
Signed
_____________________________________
Name
_____________________________________
Date


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